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Dear Judge Neureiter:

My name is Jesse Alphonso Nunez, my title is operation manager at QED here in Denver
Colorado. I’ve known Mr. Cuetara for almost six years now, I’m his immediate supervisor. I’ve
established a good work relationship with Mr. Cuetara in the past six years now we
communicate daily with not only work situations but everyday life topics, sports, weather,
feelings just a few examples. I’m a native of Denver Colorado, and like to volunteer in local
community food drives, and youth sports.

Mr Cuetara is an exceptional employee, he not only is always on time but also is willing to take
the hardest receiving or any given work tasks head on with no complaints. His work ethic is
phenomenal! Andres is harmless to everyone here at work and helps out so much its surreal
not to have him here at this time, were certain that whatever may have did, not only did he not
understand, but he will make it right when all said and done. I’ve helped Andres personally
with health and benefit enrolments also gotten him interpreters for warehouse meetings it
takes a bit more than the usual human being for him to comprehend certain things.
Here at QED we have his job open for him and would like him to come back to work as soon as
he can, I can help to get him here at work, also try and be a mentor and help guide him to the
right path I have no problem doing so. A lot of people in this world shouldn’t get second
chances, I hope Andres does.




                        Sincerely, Jesse A. Nunez

                        PS,
                        Please feel free to contact me directly@ 303-726-6584.
